Case 8:08-cr-00024-JSM-AEP Document 113 Filed 01/15/10 Page 1 of 6 PageID 283
Case 8:08-cr-00024-JSM-AEP Document 113 Filed 01/15/10 Page 2 of 6 PageID 284
Case 8:08-cr-00024-JSM-AEP Document 113 Filed 01/15/10 Page 3 of 6 PageID 285
Case 8:08-cr-00024-JSM-AEP Document 113 Filed 01/15/10 Page 4 of 6 PageID 286
Case 8:08-cr-00024-JSM-AEP Document 113 Filed 01/15/10 Page 5 of 6 PageID 287
Case 8:08-cr-00024-JSM-AEP Document 113 Filed 01/15/10 Page 6 of 6 PageID 288
